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IN THE UNITED STATES DISTRICT COURT SEP 17 2019
FOR THE DISTRICT OF MARYLAND AL BAL S840:
WLERK US, DISTRICT COURT
; DISTRICT OF HARYLAND
UNITED STATES OF AMERICA, : w DEPUTY
ex rel. DEBORAH SHELDON, et al.,
Plaintiffs, | FILED UNDER SEAL
ve . CIVIL NO. ELH-14-2535
TANGO MERGER SUB 2 LLC, et al.,
Defendants. :
000...
ORDER

‘The United States and plaintiff States having declined to intervene in this action pursuant

to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B) and analogous state statutes, the Court rules

as follows:
IT IS ORDERED that,
1. the complaint be unsealed and served upon the defendants by the relator;
2. all other contends of the Court’s file in this action remain under seal and not be

made public or served upon the defendants, except for this Order and the Government’s Notice
of Election to Decline Intervention, which the relator will serve upon defendants only after

service of the complaint,

3. the seal be lifted as to all other matters occurring in this action after the date of
this Order;
4, the parties shall serve all pleadings and motions filed in this action, including —

supporting memoranda, upon the United States and plaintiff States, as provided for in 31 U.S.C.
 

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§ 3730{c)(3) and analogous state statutes. The United States and named plaintiff States may

order any deposition transcripts and are entitled to intervene in this action, for good cause, at any .

time;
5. the parties shall serve all notices of appeal upon the United States and named
plaintiff States;

6. all orders of this Court shall be sent to the United States and named plaintiff

States; and that

7. should the relator or the defendants propose that this action be dismissed, settled,
or otherwise discontinued, the Court will solicit the written consent of the United States and

named plaintiff States before ruling or granting its approval.

IT IS SO ORDERED this NE ey of sept 2019.

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Ellen L. Hollander
United States District Judge

 

 
